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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, ET AL.,  )
                                    )
           Plaintiffs,              )
                                    )           CV No. 20-3010
        vs.                         )           Washington, D.C.
                                    )           March 3, 2023
 GOOGLE LLC,                        )           4:15 p.m.
                                    )
           Defendant.               )
 ___________________________________)


                         TRANSCRIPT OF
           SCHEDULING CONFERENCE VIA ZOOM PROCEEDINGS
               BEFORE THE HONORABLE AMIT P. MEHTA
                  UNITED STATES DISTRICT JUDGE


 APPEARANCES:

 For DOJ Plaintiffs:               Kenneth M. Dintzer
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 APPEARANCES CONTINUED:

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 Proceedings recorded by mechanical stenography; transcript
 produced by computer-aided transcription
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1                             P R O C E E D I N G S

2                COURTROOM DEPUTY:      Good afternoon, Your Honor,

3     this is Civil Action 20-3010, the United States of America,

4     et al., versus Google LLC.

5                Kenneth Dintzer for the DOJ Plaintiffs.

6                William Cavanaugh on behalf of the Colorado

7     Plaintiffs.

8                And John Schmidtlein for Google LLC.

9                THE COURT:     All right, Counsel, good afternoon.

10    It's nice to see you all.       I hope everybody has been doing

11    well.

12               We're in receipt of your filings.

13               So the reason for the request to gather everybody

14    is the sanctions motion that was filed recently and the

15    schedule that's been requested to brief it and the

16    implications that has for our summary judgment argument

17    date, so I wanted to just get everybody together and have a

18    discussion about that.

19               Just to recap, at least, my understanding of where

20    things are, and you will have to proceed of the presumption

21    that I've not looked in any great detail at the plaintiff's

22    motion for sanctions, I have a general understanding of what

23    the basis is; but my understanding is there is this motion

24    for sanctions.    The request is -- the sanctions have not

25    been specified and there's a request for an evidentiary
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                                                                             4

1     hearing on the sanctions motion.

2                Google's opposition to the motion, the sanctions

3     motion is due April 10th, our summary judgment argument, at

4     least at present, is scheduled for the 13th of April, and

5     then the reply on the sanctions motion is due the 24th.

6                MR. DINTZER:    May I be heard, Your Honor?

7                THE COURT:    Am I getting those dates wrong?

8                MR. SCHMIDTLEIN:      Yes, Your Honor.

9                Google's opposition will be filed next Friday,

10    March 10th.    I think you misspoke and said April.

11               THE COURT:    I misspoke.    Sorry about that.

12               And then the reply is due --

13               MR. DINTZER:    March 24th, Your Honor.

14               THE COURT:    Okay.    You'll have to forgive me.

15    I misspoke, everybody.

16               All right.    Well, that leaves us, between

17    March 24th and when the summary judgment arguments are set,

18    that gives us about three weeks.

19               And so I wanted to just gather everybody to figure

20    out what you all are contemplating in terms of an

21    evidentiary hearing, maybe Google said, we don't need one,

22    but if there is to be one, is the hope that it will be

23    before summary judgment so that I can evaluate the potential

24    sanctions and the impact on summary judgment, and I'm just

25    trying to figure out how I ought to sequence this, given the
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1     sanctions motion.

2                 So why don't we start with Mr. Dintzer and

3     Mr. Cavanaugh.

4                 MR. DINTZER:    Yes, Your Honor.

5                 So in our motion, we sought declarations from

6     Google and a 30(b)(6) to gather some more information, as

7     well as a copy of their withhold.         Also, we haven't put this

8     in the motion, but it's come up more recently, probably some

9     of the redacted materials from the Epic case, we would want

10    them unredacted so we could get access to them in full.

11                So we would want that before the hearing, if the

12    Court wishes to have a hearing.         And we don't believe that

13    the hearing needs to take place before the summary judgment

14    argument.    We recognize that probably it should take place

15    relatively close afterwards.       The date we were going to

16    throw out was sometime in early May, maybe May 8th, for the

17    hearing so that we'd have a chance to do the 30(b)(6) to get

18    these declarations and then be in a position to address the

19    Court at the hearing if the Court wants to have one.

20                THE COURT:    And, Mr. Dintzer, when you say -- as

21    I understand it, the sort of origin of this motion is that

22    similar, if not the same, issue arose in the Epic case,

23    I believe it was in the Northern District of California.

24                So can you just shed more light on what you mean

25    about the redacted materials from that case and how that
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                                                                             6

1     bears on this one.

2                MR. DINTZER:    Of course, Your Honor.

3                So the Epic case made us aware of certain

4     practices, and I'm not going to get into obviously certain

5     practices that Google was engaging in, including the

6     destruction of certain chats, and so we had been push -- we

7     pushed Google on this for a period of time and we finally

8     got some more information from them.

9                But we would want two things.        We'd want the

10    unredacted filings and attachments from the Epic case, along

11    with additional chats that were just produced in that case.

12    It wouldn't be an extra burden on Google for any of that,

13    because it's already there, we would just like it

14    unredacted, so that we would have access and would save us

15    from having it duplicated in this case.

16               We would want -- we've asked for declarations from

17    the people in this case, the custodians in this case about

18    their use of the history-off feature so that we can have a

19    clear record of their use, and under oath, and then a

20    30(b)(6) so we can kind of gather all of this together and

21    make the necessary showing to the Court, which we believe we

22    can, regarding Google's conduct.

23               So we've got our motion, and if we get -- if the

24    Court grants our motion, we get these materials, we would

25    then presumably use the time between the argument and the
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1     hearing to farther these materials, prepare them for

2     presentation to the Court.

3                THE COURT:    And in terms of what you're seeking

4     from -- help me understand what you're seeking in the

5     declaration and is the idea that the 30(b)(6) would be a

6     followup to a declaration from a custodian of records and

7     are you also seeking to file -- I mean, my recollection is

8     you have dozens and dozens of custodians in this case.                 My

9     limited understanding is that each individual custodian had

10    an opportunity to change the settings here on the deletion

11    of the chats.    And so is part of this an effort to determine

12    what each individual custodian had as his or her settings?

13               MR. DINTZER:    Yes, Your Honor.

14               What their practice was.

15               So under oath, whether they used the history-off

16    default to have work-related discussions.          So we'd want --

17               THE COURT:    So, but is the expectation, if it's

18    permitted, the 30(b)(6) witness will make inquiries, with

19    the assistance of counsel, of each of the custodians to find

20    out what their practice was and what that person's settings

21    were?

22               MR. DINTZER:    Our thinking was that, first, we get

23    declarations from the custodians so we'd have that.             And

24    then we would be able to use the 30(b)(6) to go deeper and

25    to ask more about Google's practices about why they didn't
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                                                                             8

1     stop deleting these when we raised the issue in -- last fall

2     and answer questions about what Google is doing, ask

3     questions about their lay hold, which we've never received.

4     So the breadth of the 30(b)(6) would be to cover these

5     issues so we wouldn't have to ask for individual fact

6     witnesses on these subjects.        These are all subjects that

7     obviously would be relevant to our sanctions motion.

8                THE COURT:    Okay.

9                Mr. Cavanaugh, do you want to add anything before

10    I turn to Mr. Schmidtlein?

11               MR. CAVANAUGH:     No.    No, thank you, Judge.

12               THE COURT:    Mr. Schmidtlein, your thoughts.

13               MR. DINTZER:    Thank you, Your Honor.

14               As we understand it, they have filed a motion and

15    we're going to brief that motion and we'll respond, as I

16    said, next Friday to it in terms of the motion that's been

17    filed.

18               As I understand sort of their process, they have

19    set this up as a, we are asking for a sanction based on what

20    they've laid out in the motion, that there should be an

21    order of spoliation or a finding that sanctionable conduct

22    has occurred, which Google, of course, denies and will

23    oppose next week.

24               And then pending, or depending on how Your Honor

25    rules on that, then they may be entitled to or they may seek
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1     additional discovery to try to establish what they claim is

2     more information so they can figure out what exact sanction

3     they're going to ask for because they actually haven't

4     indicated in their motion what exact sanction they're

5     seeking in the case.

6                And so while I disagree with a lot of what

7     Mr. Dintzer is obviously saying and suggesting in the

8     motion, I do agree that the motion does not need to be

9     resolved prior to the summary judgment hearing.            And we can

10    get that -- we can certainly take care of that in April.

11    But we are -- we're available and willing to take up this

12    argument on the motion papers, you know, at the Court's

13    earliest convenience.

14               THE COURT:    Okay.   All right.     Well, I think that

15    answers the question I really wanted to pose to, really,

16    mainly the plaintiffs, which is whether they wanted to or

17    envisioned having this sanctions issue resolved in advance

18    of the summary judgment hearings so that I can, A, consider

19    whether a sanction is appropriate, and, B, whether, if it

20    is, what it ought to be and how it ought to affect my

21    thinking on the summary judgment motions.          And obviously

22    since this is a bench trial, this -- certain sanctions that

23    otherwise might be available are not, I suppose I could

24    instruct myself, but it's a little bit awkward to do so.

25               So, in any event, okay.      All right.      Well, that is
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1     helpful and that provides some clarity in my mind and we'll

2     take it from there.

3                 MR. DINTZER:     One comment on Your Honor,

4     everything you said we agree with, but we believe that that

5     resolving, not hearing from -- not necessarily holding the

6     hearing on what the punishment would be for the sanctions

7     but resolving that before summary judgment, before you issue

8     the summary judgment opinion, would be fortuitous, because

9     obviously if we get adverse inferences and there was -- we

10    don't think that there is, but some deficiency in facts in

11    one area or another, then that could affect the Court's

12    conclusion as to whether something should go through to

13    trial.   For the resolution, we still think it needs to be

14    addressed before.

15                THE COURT:     Right.    Right.

16                No, I mean, that's why I raised this whole issue

17    of sequencing.    Okay.

18                MR. DINTZER:     We appreciate that, Your Honor.

19                THE COURT:     Okay.

20                MR. SCHMIDTLEIN:       Your Honor, if I may, I know we

21    have set aside, I believe, the 12th and the 13th.

22                THE COURT:     I think that's right.

23                MR. SCHMIDTLEIN:       I think were the dates you asked

24    us to hold.

25                THE COURT:     Correct.
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1                 MR. SCHMIDTLEIN:     And --

2                 THE COURT:     Go ahead, Mr. Schmidtlein.

3                 MR. SCHMIDTLEIN:     And I believe, per Your Honor's

4     request, I believe both sides communicated to you, I think

5     some time ago, about whether they believed an evidentiary

6     hearing was necessary in connection with the Daubert

7     motions, and I believe both sides have separately came to

8     the same conclusion, that those were not, those were not

9     necessary.    Obviously if Your Honor has a different view,

10    you control.

11                But I don't know if you have further guidance for

12    us as to either timing, whether you want to hear arguments

13    on all the Daubert motions.       I know we've given you a

14    mountain of paper to read and you may not have a firm view

15    or any further direction to give us at this time.              But if

16    you did or if you believed in the future that you would,

17    obviously we would welcome that.

18                MR. DINTZER:     Your Honor, if I may correct

19    Mr. Schmidtlein, who is speaking for me when he probably

20    shouldn't be, we've not agreed on anything about whether

21    there should be a Daubert hearing or not.           Our basic

22    position is the default to whatever the Court would request,

23    but we haven't reached any sort of agreement with Google

24    about that.

25                MR. SCHMIDTLEIN:     This was just on the evidentiary
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                                                                                 12

1     issue, Ken.

2                 THE COURT:     Right.

3                 MR. SCHMIDTLEIN:     Which you did put a letter in

4     on.

5                 THE COURT:     Right.

6                 MR. DINTZER:     Okay.      Then I apologize if I

7     misunderstood Mr. Schmidtlein.

8                 THE COURT:     That's all right.

9                 So, Mr. Schmidtlein, look, the unsatisfactory

10    answer is I have no idea at this point.             We are six weeks

11    out, which may sound like a close-in-time but I'm not there

12    yet in terms of figuring out what I need and how I'm going

13    to ask this to be structured right now.             I have just April

14    13th set aside.     I can -- I've left April 12th open on my

15    own calendar just in the event that I think we'll need two

16    days instead of one.

17                I can tell you all, just given what my other time

18    demands are right now, I'm still in trial, have another one

19    before the end of the month.         So I'm trying to figure out

20    where to -- where I can really start to commit the time that

21    this is going to require to get ready in a way that you all

22    deserve.

23                MR. SCHMIDTLEIN:     Understood, Your Honor.

24                And, I mean, the fact that -- if you've only got

25    really one day for this, then that's even helpful to us so
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1     we can get a sense of --

2                 THE COURT:     But, again, that's just right now

3     without having cracked a single brief.           So that's why I've

4     asked you to hold the two days, because I may get into this

5     and think, one day is not going to be enough.              I will say

6     that when I've had -- well -- I can't -- where I've had

7     complicated cases, I will -- I've advised the parties in

8     advance of how I'd like to structure the arguments.               So let

9     me assure you that you won't show up on the 12th or the 13th

10    without any sense of how the day or days will be organized,

11    so you'll certainly have advanced warning of that.

12                MR. SCHMIDTLEIN:       We appreciate that, Your Honor.

13                MR. DINTZER:     Thank you, Your Honor.

14                THE COURT:     I can't tell you exactly how much

15    advanced warning you'll have right now but...

16                MR. DINTZER:     Exciting, Your Honor.

17                MR. SCHMIDTLEIN:       We'll take whatever you can give

18    us.

19                MR. CAVANAUGH:     Exactly.

20                THE COURT:     So okay.     Is there anything else we

21    need to discuss?

22                MR. DINTZER:     No, Your Honor.

23                THE COURT:     Okay.    All right.     Thank you, all.

24    We'll see you soon.

25                (Proceedings concluded at 4:38 p.m.)
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                         C E R T I F I C A T E
                  I, William P. Zaremba, RMR, CRR, certify that
 the foregoing is a correct transcript from the record of
 proceedings in the above-titled matter.
                  Please note: This hearing occurred during
 the COVID-19 pandemic and is therefore subject to the
 technological limitations of court reporting remotely.




 Date:__March 3, 2023_______        ____________________________
                                    William P. Zaremba, RMR, CRR
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